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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


UNITED STATES SECURITIES AND EXCHANGE        Civil No. 1:17-CV-04179-DLC
COMMISSION,
                                            Honorable Judge Denise L. Cote
     Plaintiff,                             Magistrate Judge Ronald L. Ellis

v.                                              ALPINE SECURITIES
                                                 CORPORATION’S
ALPINE SECURITIES CORPORATION,                   MEMORANDUM IN
                                               OPPOSITION TO SEC’S
     Defendant.                                 MOTION TO STRIKE




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        Defendant Alpine Securities Corporation (“Alpine”), by and through undersigned

counsel, hereby files its Memorandum in Opposition to Plaintiff United States Securities and

Exchange Commission’s (“SEC”) Motion to Strike.

I.      INTRODUCTION

        By this motion, the SEC asks this Court to grant the extraordinary remedy of striking

Alpine’s equitable defenses of estoppel and waiver (16th Defense) and unclean hands (19th

Defense).    Both the Second Circuit and this Court have recognized that such motions are

disfavored, rarely granted, and are “never” an appropriate vehicle “for the determination of

disputed and substantial questions of law.” Keystone Global LLC v. Décor Essentials Ltd., 2014

WL 888336, at *2 (S.D.N.Y. Mar. 6, 2014) (Cote, J.) (Court denied the Plaintiff’s Motion to

Strike) (citations omitted).

        To support that request for relief, the SEC takes the expansive position that equitable

defenses are improper against the Government and should be dismissed as a matter of law. As

discussed below, the Government is subject to principles of equity, including defending against

affirmative defenses of estoppel, waiver, and unclean hands. Thus, Alpine’s equitable defenses

are legally valid.

        The SEC also fails in its burden to show that the affirmative defenses do not present any

question of fact which would allow the defense to succeed. Alpine’s equitable defenses are

supported by extensive and specific allegations, all of which are considered true for purposes of

the SEC’s Motion to Strike. As such, Alpine’s equitable defenses present questions of fact that

are not properly resolved on a motion to strike, and Alpine should be afforded the opportunity to

develop these defenses in discovery.


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II.       LEGAL STANDARD

          Rule 12(f) of the Federal Rules of Civil Procedure states that the “court may strike from a

pleading an insufficient defense or any redundant, immaterial, impertinent or scandalous matter.”

Fed. R. Civ. P. 12(f).      “Motions to strike defenses are generally not favored.”        S.E.C. v.

McCasky, 56 F. Supp. 2d 323, 326 (S.D.N.Y. 1999) (citation omitted); see S.E.C. v. Thrasher,

1995 WL 456402, at *5 (S.D.N.Y. Aug. 2, 1995) (“Motions to strike, however, remain

disfavored and should generally not be granted.” (emphasis added)); accord Reymond Weil,

S.A. v. Theron, 585 F. Supp. 2d 473, 489-90 (S.D.N.Y. 2008) (“There is nothing dumber than a

motion to strike boilerplate affirmative defenses; it wastes the client’s money and the court’s

time.”). Thus, “courts should not tamper with the pleadings unless there is a strong reason for so

doing.”     City of New York v. Fedex Ground Package System, Inc., 314 F.R.D. 348, 354

(S.D.N.Y. 2016) (citation omitted); see also Keystone Global LLC, supra, at *2 (a motion to

strike an affirmative defense “will not be granted unless it appears to a certainty that plaintiffs

would succeed despite any state of the facts which could be proved in support of the defense.”)

(emphasis added) (citation omitted) (Cote, J.).

          “In order to prevail on a motion to strike, a plaintiff must show that: (1) there is no

question of fact which might allow the defense to succeed; (2) there is no question of law which

might allow the defense to succeed; and (3) the plaintiff would be prejudiced by inclusion of the

defense.” McCaskey, 56 F. Supp. 2d at 326. “In considering the first and second prongs, courts

apply the same legal standard as that applicable to a motion to dismiss under rule 12(b)(6).” City

of New York, 314 F.R.D. at 355 (citation omitted).

          Accordingly, “the Court construes the pleadings liberally to give the defendant a full


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opportunity to support its claims at trial, after full discovery has been made.” Id. (citations

omitted). “The ‘sufficiency of a defense is to be determined solely upon the face of the pleading,’

and the Court ‘accepts as true all well-pleaded factual allegations and draws all reasonable

inferences in the [non-moving party’s] favor.’” City of New York, 314 F.R.D. at 355 (quoting

Coach, Inc. v. Kmart Corps., 756 F. Supp. 2d 421, 425 (S.D.N.Y. 2010)).

       In pleading an affirmative defense, a defendant is required by Rule 8(c) of the Federal

Rules of Civil Procedure to state the defense “in short and plain terms.” See Colon ex rel.

Molina v. BIC USA, Inc., 136 F. Supp. 2d 196, 200 (S.D.N.Y. 2000); accord Fed. R. Civ. P. 8(c).

The purpose of this Rule is to protect a plaintiff from “unfair surprise.” Colon, 136 F. Supp. 2d

at 200. Further, numerous courts in this Circuit have “declined to apply the Twombly/Iqbal

standard [applicable to plaintiffs] to affirmative defenses.” Tardif v. City of New York, 302

F.R.D. 31, 33-34 (S.D.N.Y. 2014) (identifying cases and summarizing the reasons why courts

refuse to apply Twombly/Iqbal standards to defenses).

       A Motion to Strike is not the appropriate mechanism to resolve issues concerning the

legal efficacy of a defense: “when the defense presents a purely legal question, the courts are

very reluctant to determine disputed or substantial issues of law on a motion to strike; these

questions quite properly are viewed as determinable only after discovery and a hearing on the

merits.” William Z. Salcer, Panfeld, Edelman v. Envicon Equities Corp., 744 F.2d 935, 939 (2d

Cir. 1984) (citation omitted) (vacated on other grounds). The Second Circuit emphasizes that

resolving factual and legal issues is particularly disfavored on a Motion to Strike when “there has

been no significant discovery” because “[t]o do otherwise would be to run the risk of offering an

advisory opinion on an abstract and hypothetical set of facts.” Id. (citations omitted). Thus, to


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strike a defense, “the court must be convinced . . . that any questions of law are clear and not in

dispute, and that under no set of circumstances could the [defenses] succeed.” Wyeth v. King

Pharm., Inc., 369 F. Supp. 2d 280, 293 (E.D.N.Y. 2005) (citation omitted).

III.   ARGUMENT

       A.      ALPINE’S NINETEENTH DEFENSE IS LEGALLY VALID AND RAISES
               ISSUES OF FACT AND LAW FOR TRIAL.

               1.      Unclean Hands is a Valid Legal Defense against the Government.

       Alpine’s Nineteenth Affirmative Defense alleges that the “[SEC’s] claim and any

remedies sought are barred or reduced, in whole or in part, because the [SEC] has acted

outrageously, inequitably, unconstitutionally, in bad faith, with an ulterior purpose, with an

improper motive, and/or with unclean hands, in initiating and conducting its investigation of

Alpine and in bringing this enforcement action.” Alpine’s Am. Answer, pp. 20-23, Dkt. No. 48.

That defense is supported by several pages of detailed factual allegations, discussed in detail

below, in Section 2.

       Contrary to the assertions of the SEC, it is well established that “unclean hands” defenses

similar to Alpine’s are permitted even in governmental enforcement actions. “The doctrine of

unclean hands, like other equitable defenses, may be raised against the Government where ‘the

agency’s misconduct [was] egregious and the resulting prejudice to the defendant r[o]se to a

constitutional level.’” S.E.C. v. KPMG LLP, 2003 WL 21976733, at *3 (S.D.N.Y. Aug. 20,

2003) (alterations in original). Several courts have denied motions to strike similar defenses,

even while expressing skepticism about the defense, on the basis that motions to strike are

disfavored and the alleged insufficiency of a defense should not be considered at the pleading

stage absent a full factual record. See, e.g., S.E.C. v. Downe, 1994 WL 67826 at *2 (S.D.N.Y.,

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March 3, 1994) (denying SEC’s motion to strike unclean hands defense predicated on the SEC’s

refusal to seek disgorgement from other similarly situated parties and to the SEC’s failure “to

follow its own rules, regulations and procedures,” on the basis that “these issues would be better

addressed in a concrete factual setting”); Wellman v. Dickinson, 79 F.R.D. 341, 351 (S.D.N.Y.

1978) (expressing doubt as to availability of the defense, but declining to strike it at the pleading

stage in favor of development of a full factual record); S.E.C. v. Nacchio, No. 2006 WL

2793149, at *1, 5 (D. Colo. Sept. 27, 2006) (refusing to strike affirmative defense that SEC’s suit

“is motivated by an ulterior motive” and to “send a message to the accounting community,”

because the “Court cannot say that the defense is impossible to establish” at the pleading stage).

       Alpine’s right to maintain this defense, as well as its other equitable defenses, is further

supported by the fact that the SEC seeks equitable relief against Alpine, including a permanent

injunction. The Eighth Circuit Court of Appeals, citing multiple U.S. Supreme Court cases, has

stated that “[i]t is well established that the United States is subject to general principles of equity

when seeking an equitable remedy.” U.S. v. Wilson, 707 F.2d 304, 312 (8th Cir. 1982) (citing,

inter alia, Pan American Petroleum & Transp. Co. v. United States, 273 U.S. 456, 506 (1927);

U.S. v. Detroit Timber & Lumber Co., 200 U.S. 321, 339 (1906)). Such decisions comport with

the common maxim that “he who seeks equity must do equity.” D.O. Haynes & Co. v.

Druggists’ Circular, 32 F.2d 215, 217 (2d Cir. 1929); accord Granite Partners, L.P. v. Bear,

Sterns & Co. Inc., 17 F. Supp. 2d 275, 310 (S.D.N.Y. 1998) (same).

       The unclean hands doctrine furthers this principle by “‘clos[ing] the door of a court of

equity to one tainted with inequitableness or bad faith relative to the matter in which he seeks

relief, however improper may have been the behavior of the defendant.’” ABF Freight Sys., Inc.


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v. NLRB, 510 U.S. 317, 329, (1994) (citation omitted); see also S.E.C. v. American Growth

Funding II, LLC, 2016 WL 8314623, at *3 (S.D.N.Y., Dec. 30, 2016) (“[r]ecognizing the need to

deter governmental abuses, courts do allow the defense of government misconduct to be

invoked.”); U.S. Commodity Futures Trading Comm’n v. U.S. Bank, N.A., 2014 WL 294219, at

*7 (N.D. Iowa, Jan. 27, 2014) (stating that “[i]f one comes to court ‘tainted with inequitableness

or bad faith relative to the matter in which he [or she] seeks relief, however improper may have

been the behavior of the defendant,’ the court may decline to provide relief.”). Therefore,

Alpine’s equitable Nineteenth Defense is not foreclosed as a matter of law, and should not be

struck, simply because it is asserted against a government defendant, particularly where

injunctive relief is sought.

                   2.       Alpine’s Nineteenth Defense is Supported by Sufficient Factual
                            Allegations to Survive a Disfavored Motion to Strike.

           The SEC’s Motion to Strike Alpine’s Nineteenth Defense is further undermined by the

detailed factual allegations Alpine provided in support of its Nineteenth Defense:

           •   Alpine alleged that the SEC commenced its investigation and this enforcement action

               against Alpine for, inter alia, the following purposes:

                   (a) “in retaliation for Alpine’s participation as a clearing firm in the microcap
                   over-the-counter (“OTC”) stock market, which is looked upon with disfavor by
                   the SEC even though OTC stock transactions are a legal segment of the market,
                   with the purpose of trying to make an example of Alpine to send a message to
                   other participants in the OTC stock market through enforcement rather than
                   regulation”;

                   (b) “in retaliation for formal and informal statements or complaints made by
                   Alpine and/or certain affiliated entities or individuals regarding FINRA 1 and/or
                   Plaintiff, including a lawsuit commenced against FINRA, and/or in retaliation for
                   efforts by individuals affiliated with Alpine to set up a self-regulatory

1
    “FINRA” refers to the Financial Industry Regulatory Authority.

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       organization (“SRO”) that would compete with FINRA”; and

       (c) “to try to force Alpine out of business through excessive regulatory inquiries
       in general and through this action, including by pursuing this action in a remote
       and unduly expensive forum for Alpine, and by seeking excessive penalties in this
       non-scienter based books and records case, thereby restricting the public’s access
       to the OTC market segment and violating Alpine’s right to conduct a lawful
       business.”

•   Although discovery is still in the early stages, Alpine alleged on information and

    belief that the SEC’s improper and ulterior motives, unclean hands, and outrageous

    and unconstitutional activity are indicated by, inter alia, the following conduct:

       (a) “Plaintiff has injected false, inflammatory and irrelevant allegations in its
       Complaint that Alpine facilitates fraud and criminal behavior by third parties”;

       (b) “Plaintiff has injected false, inflammatory and irrelevant allegations in its
       Complaint regarding Scottsdale Capital Advisors Corp., an entity that is affiliated
       with Alpine”;

       (c) “[U]pon information and belief, Plaintiff pursued its investigation of Alpine
       and brought this action in retaliation for Alpine’s formal and informal complaints
       and other actions regarding Plaintiff’s and/or FINRA’s conduct set forth above”;

       (d) “Plaintiff is seeking excessive penalties and/or other remedies that are not
       supported by its own allegations, and which Plaintiff has not sought against other
       similarly situated broker dealers in the industry, for the purpose of trying to force
       Alpine out of business”;

       (e) “Plaintiff pursued its investigation of Alpine and filed this enforcement action
       against Alpine for alleged violations of the BSA, even though Plaintiff knows or
       should know it lacks authority to file enforcement actions or recover penalties for
       alleged violations of the BSA”;

       (f) “Plaintiff involved the DOJ during Plaintiff’s investigation, including
       conducting joint witness interviews, and attempted to persuade the DOJ to pursue
       a parallel criminal investigation to try to induce Alpine to agree to a resolution
       with the SEC”;

       (g) “Plaintiff filed a declaration with the Court from L. James Lyman that proffers
       purported proposed testimony from several witnesses allegedly gathered during
       Plaintiff’s joint investigation with the Department of Justice that, upon
       information and belief, Plaintiff knows or should have known is not accurate”;

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                (h) “Plaintiff brought this action in a forum that is inconvenient and highly costly
                and prejudicial to Alpine for the stated purpose of making the biggest media
                splash in the industry by making an example of Alpine”;

                (i) “Plaintiff is trying to make an example of Alpine to send a message to the
                industry through enforcement, rather than through regulation,” 2;

                (j) “Plaintiff has intentionally and unreasonably singled out Alpine and has not
                pursued enforcement actions against other similarly situated broker dealers in the
                industry based on the nature or type of allegations at issue here, sought penalties
                of this nature or severity against other similarly situated broker dealers in the
                industry, or otherwise sought to apply the laws and regulations at issue in this
                action in the same manner against other similarly situated broker-dealers in the
                industry”; and

                (k) “the conduct more particularly set forth in Alpine’s Sixteenth Defense, which
                is incorporated herein by reference in its entirety. Upon information and belief,
                additional facts supporting this defense will be uncovered during discovery.”

        •   Alpine further alleged that the SEC’s conduct “has caused, and will continue to cause,

            significant prejudice to Alpine, including, inter alia, Alpine’s good will and

            continued operation of its lawful business that serves an important and entirely legal

            OTC segment of the market and to Alpine’s ability to adequately and sufficiently

            defend itself against Plaintiff’s allegations in this action. The prejudice to Alpine

            from Plaintiff’s conduct as described herein rises to a constitutional magnitude,

            including but not limited to, Plaintiff’s constitutional rights to due process and equal

            protection of law, to be free from arbitrary, selective, retaliatory and discriminatory

            enforcement of the law.”

Alpine’s Am. Answer, pp. 20-23, Dkt. No. 48.

        These detailed allegations are far more comprehensive than were the allegations in the

cases discussed above, and are more than sufficient to satisfy Alpine’s burden under Rule 8(c) of

2
 The SEC admitted as much in its Opposition Memorandum to Alpine’s Motion to Dismiss or Transfer (See SEC’s
Memorandum of Law in Opposition To Defendant’s Motion to Dismiss, at 3, Dkt. No. 30.)

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the Federal Rules of Civil Procedure. See Colon, 136 F. Supp. 2d at 200. This is not a situation

in which Alpine simply pled the words “unclean hands” or “ulterior motives.” It has laid bare a

protracted sequence of events that support the view that the SEC is pursuing that it is not even

authorized to bring, asserting unprecedented and insupportable interpretations of Bank Secrecy

Act provisions, in retaliation against Alpine, and to penalize and/or intimidate a disfavored

segment of the OTC market. As indicated above, at this juncture of the case, it is premature to

make a factual determination of Alpine’s allegations. See, e.g., Downe, 1994 WL 67826 at *2.

The Court is also charged with construing Alpine’s allegations liberally “to give [Alpine] a full

opportunity to support its claims at trial, after full discovery has been made.” McCaskey, 56 F.

Supp. 2d at 326 (emphasis added).

       Nevertheless, the SEC argues throughout its Memorandum in Support that Alpine’s

allegations are conclusory and speculative. See SEC’s Mem., pp. 4-5, 7, 9 (Dkt. No. 55). This

argument is baseless. Not only are detailed factual allegations not necessary to sufficiently plead

an affirmative defense, see Colon, 136 F. Supp. 2d at 200, but Alpine’s supporting factual

allegations are far from conclusory. Moreover, the SEC’s arguments that the allegations are

conclusory or speculative would not defeat or invalidate the factual issues raised in Alpine’s

defenses. See Perez v. De Domenico Pizza & Restaurant, Inc., 2016 WL 3774389, at *2

(E.D.N.Y. May 31, 2016) (“Although the plaintiffs correctly point out that the sixth affirmative

defense was pled in conclusory terms, unsupported by any factual allegations, in the opposition

papers, . . . there are disputed issues of fact that may entitle the defendants to pursue this standard

affirmative defense.”).

       Notably, this case is unique in that Alpine has previously brought suit against FINRA.


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Alpine believes, and has thus alleged, that the SEC’s motive in pursuing this action, at least in

part, is in retaliation of Alpine’s action against FINRA and past statements made by Alpine that

were critical of FINRA and the SEC. 3 Alpine also believes and has alleged that the SEC is

attempting to put Alpine out of business by pursuing this action in a remote and more expensive

forum, by seeking excessive penalties, and by trying to send a message to the industry through

enforcement rather than regulation, for the purposes of both retaliating against Alpine for its

criticisms of the SEC’s and FINRA’s conduct in the industry and in order to try to restrict the

public’s access to the entirely legal OTC market. Additional factual allegations from Alpine’s

Amended Answer that support the SEC’s ulterior motive and unclean hands are detailed above.

        Alpine has a right to conduct discovery to gather proof to support these allegations. If

proven true, they establish not only the SEC’s unclean hands, which provides a defense to the

SEC’s request for injunctive relief, but also that its conduct has caused prejudice to Alpine that

rises to a constitutional level, depriving Alpine of its constitutional rights to due process and

equal protection of law. See U.S. ex rel. Boone v. Fay, 231 F. Supp. 387, 390 (S.D.N.Y. 1964)

(observing that when government “action or inaction offends basic principles of fundamental

fairness a violation of defendant’s right to due process or equal protection under the Fourteenth

Amendment results.”).         In fact, the SEC’s inclusion of false, irrelevant and inflammatory

allegations in its Complaint, e.g., that Alpine “facilitates and enables illicit financial activity,”4

has already strained Alpine’s and Scottsdale relationships with its customers, banks and other

third parties upon which they rely to conduct business. 5


3
  See John J. Hurry et al. v. Financial Industry Regulatory Authority, Inc. et al., 2:14-cv-02490-ROS (D. Ariz.)
(action brought by multiple parties including those affiliated with Alpine during the relevant time period).
4
  See SEC’s Complaint, at ¶¶ 4, 15, 16, 27, Dkt. No. 1.
5
  This is not the first time that the SEC has made spurious and inflammatory allegations in a proceeding without

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         In addition to the issues of retaliation and improper purpose, Alpine also alleges, as part

of its Nineteenth Defense, a selective enforcement argument which requires a showing at trial

“that laws were not applied to [it] as they were applied to similarly situated individuals and that

the difference was intentional and unreasonable.” S.E.C. v. Sirianni, 334 F. App’x 386, 389 (2d

Cir. 2009). In response, the SEC first argues that selective enforcement cannot be asserted as an

affirmative defense against it. However, the authority the SEC relies upon in support of this

argument, FSK Drug Corp., 960 F.2d 6, 10 (2d Cir. 1992), does not support that sweeping

proposition, and Alpine is aware of no authority precluding the defense that a governmental

entity has engaged in an impermissible selective enforcement of its rules and regulations.

Moreover, the SEC’s selective enforcement is evidence of its unclean hands and bias in its

pursuit of this Action against Alpine in violation of Alpine’s equal protection under the law. See

Thompson v. Spear, 91 F. 2d 430, 434 (5th Cir. 1937) (“It is only where the enforcement agency

is vested with a discretionary power and exercises its discretion arbitrarily and unjustly that

enforcement of a valid regulation becomes violative of the equal protection clause.”).

         The SEC also claims that Alpine “failed to allege facts to support a selective enforcement

claim.” SEC’s Mem., p. 6 (Dkt. No. 55). To the contrary, Alpine has provided detailed factual

assertions that support every element of a claim of selective enforcement as set forth above, and

as follows:

         [T]he [SEC’s] improper and ulterior motives, unclean hands, and outrageous and
         unconstitutional activity are indicated by, inter alia, the following conduct: (a) the

regard to the negative impact on the market and market participants. See e.g. S.E.C. v. Caledonian Bank Ltd., 145 F.
Supp. 3d 290, 310-11 (S.D.N.Y. 2015) (“[t]he SEC is imbued with enormous powers to protect the investing public.
It can halt securities trades and seek to freeze – through its representations to a court – the assets of any institution.
However, the SEC’s canon of ethics cautions: ‘The power to investigate carries with it the power to defame and
destroy. . . This case reveals the dire consequences that flow when the SEC fails to live up to its mandate and
litigants yield to the Government’s onslaught”) (quoting 17 C.F.R. § 200.66).

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       SEC improperly commenced its investigation and this action in conjunction with
       a parallel criminal investigation and demands by the United States Department of
       Justice (“DOJ”) for the improper purpose of trying to gather evidence for a
       parallel criminal proceeding; and/or (b) Plaintiff arbitrarily, selectively and
       discriminatorily pursued an investigation and this enforcement action against
       Alpine, in violation of Alpine’s constitutional rights to equal protection and due
       process of law, where it has not pursued similar investigations and enforcement
       actions, sought to apply the laws or regulations in the same manner, or sought
       penalties of this nature or severity against other similarly situated broker dealers
       who filed allegedly “deficient” SARs.

Alpine’s Am. Answer, pp. 20-23, Dkt. No. 48. Alpine is entitled to discovery that, the defendant

believes, will establish that the SEC embarked on a deliberate campaign to curtail or crush

Alpine’s entirely lawful business involving microcap securities – including using its joint

investigation with the DOJ, and the threat of criminal prosecution, in order to put pressure on

Alpine – seeking to both retaliate against and make an example of Alpine, and choke the

microcap markets. See 17 C.F.R. § 200.66 (SEC’s Code of Ethics, stating that a member should

never “participate in an investigation aimed at a particular individual for reasons of animus,

prejudice or vindictiveness.”); see also S.E.C. v. Brigadoon Scotch Distributing Co., 480 F.2d

1047, 1056 (2d Cir. 1973) (observing that during a investigation “if a subpoena were not issued

in good faith but to harass or pressure the subject of an investigation, or for any other improper

purposes, then the court would be bound not to enforce the subpoena as issued.”); c.f. Ayers v.

S.E.C., 482 F. Supp. 747, 753 (D. Mon. 1980) (the Court, responding to allegations that the

SEC’s decision to investigate was “motivated not by a desire to protect investors” but was

“motivated merely by SEC’s vindictiveness” against the subject, held that the allegations “raised

sufficient doubt as to SEC investigatory motives”).

       In S.E.C. v. Nacchio, the Court for the District of Colorado refused to strike a “defense of

unclean hands” that was “based on the claim that the SEC improperly comingled its investigation

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into this case with a criminal investigation being conducted by the Department of Justice.”

Nacchio, 438 F. Supp. 2d at 1287. The court “was not prepared to say” that a defense based on

such grounds “cannot be maintained under any circumstance,” as is required to strike a defense.

Id. The Court reasoned that, “[w]hether this case presents such a circumstance” to justify a

defense of unclean hands based upon a “jointly-conducted civil and criminal investigation” is “a

matter that cannot be adjudicated on the face of the pleadings, and must therefore await

development of a more complete factual record.” Id.

       Alpine’s allegations in this case are far more compelling than the defense in Nacchio.

Here, not only has the SEC conducted a joint investigation with criminal authorities from the

DOJ, but the SEC has also selectively enforced its authority against Alpine through a novel

enforcement claim, based on new and unsupported interpretations of the relevant statutes and

regulations, and by seeking an unprecedented award of penalties predicated on an ostensible

books and records claim. It is both unreasonable and unconstitutional, as both a deprivation of

due process and equal protection, for the SEC to intentionally treat Alpine different than other

similarly situated broker dealers, particularly where such treatment follows and appears to be

motived by the SEC’s displeasure with Alpine’s role in the OTC market and Alpine’s clashes

with the SEC and FINRA in other matters. As in Nacchio and the other authorities cited above,

it is not appropriate to resolve these issues of fact and law at the pleading stage, where all

allegations must be accepted as true.

       In summary, Alpine’s Nineteenth Defense is legally valid and supported by substantial

and sufficient factual allegations. Accordingly, this Court should deny the SEC’s Motion to

Strike Alpine’s Nineteenth Defense.


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       B.      ALPINE’S SIXTEENTH DEFENSE                    IS   LEGALLY        VALID      AND
               PRESENTS QUESTIONS OF FACT.

               1.     Legal Requirements of Waiver and Estoppel

       Alpine’s Sixteenth Affirmative Defense alleges equitable defenses of estoppel and

waiver. Both defenses are predicated on similar grounds, set forth in Alpine’s Amended Answer

and detailed in Section 3, below.

       “Estoppel is an equitable doctrine invoked to avoid injustice in particular cases.” Heckler

v. Community Health Services of Crawford County, Inc., 467 U.S. 51, 59 (1984). To establish

the defense of estoppel, “the party claiming the estoppel must have relied on its adversary’s

conduct ‘in such a manner as to change his position for the worse’ and that reliance must have

been reasonable in that the party claiming the estoppel did not know nor should it have known

that its adversary’s conduct was misleading.” Id. (citations omitted). “[E]stoppel applies ‘when

a party, by its conduct, including language, acts or silence, knowingly makes a representation or

conceals material facts which it intends or expects will be acted upon by the other party.” EEOC

v. UPS, 2017 WL 2829513, at *11 (E.D.N.Y. Jun. 29, 2017) (quotations and citation omitted).

       “Waiver requires the voluntary and intentional abandonment of a known right which, but

for the waiver, would have been enforceable.” Jordan v. Can You Imagine, Inc., 485 F. Supp. 2d

493, 499 (S.D.N.Y. 2007) (citation omitted).        Moreover, “[w]aiver may be established by

affirmative conduct or by a failure to act that evinces the intent to abandon the right.” Id.

(citations omitted). Notably, “[w]here the intention to relinquish a right is proved through

declarations, acts and nonfeasance which permit different inferences to be drawn and do not

directly, unmistakably or unequivocally establish a waiver, the determination of whether a right

has been relinquished is to be made by the finder of fact.” Id. (citations and internal quotations

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omitted).

                  2.      Estoppel and Waiver Are Valid Legal Defenses Against the Government.

         Contrary to the SEC’s position, equitable defenses of estoppel and waiver are not

foreclosed as a matter of law simply because they are asserted against the government. In

Heckler, the Supreme Court was asked to proclaim a “flat rule that estoppel may not in any

circumstances run against the Government.” Heckler, 467 U.S. at 60. The Supreme Court

declined to do so, stating, “[w]e have left the issue open in the past, and do so again today. . . . to

say that there are no cases in which the public interest in ensuring that the Government can

enforce the law free from estoppel might be outweighed by the countervailing interest of citizens

in some minimum standard of decency, honor, and reliability in their dealings with their

Government.” Id. Likewise, a Court in this district observed that “[t]here is . . . no absolute bar

to a defendant raising such a defense in a governmental enforcement action.” American Growth

Funding II, LLC, supra, at *3. 6

         Neither is Alpine legally barred from asserting the equitable defense of waiver against the

SEC. See City of New York, 314 F.R.D. at 357 (stating that “no case endorses wholesale ‘the

sweeping proposition that there is no set of facts pursuant to which an equitable defense might be

asserted against a governmental entity’”); see also EEOC, supra, at *4-5 (denying motion to

strike waiver defense); S.E.C. v. PacketPort.com, 2006 WL 2798804, at *4 (D. Conn. Sep. 27,

2006) (“The SEC points to no legal authority which absolutely prevents the defendants from


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  See also Heckler, 467 U.S. at 61 n. 13 (“Our Government should not by picayunish haggling over the scope of its
promise, permit one of its arms to do that which, by any fair construction, the Government has given its word that no
arm will do. It is no less good morals and good law that the Government should turn square corners in dealing with
the people than that the people should turn square corners in dealing with their government. To say to these
appellants, ‘The joke is on you. You shouldn’t have trusted us,’ is hardly worthy of our great government.”)
(citations omitted).

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asserting waiver against the government.”).

           Alpine’s right to maintain its equitable defenses against the SEC in this case is further

supported by the fact that the SEC seeks equitable relief against Alpine, including a permanent

injunction. As indicated above, where one seeks equity, he must do equity. Wilson, 707 F.2d at

312; Granite Partners, 17 F. Supp. 2d at 310; American Growth, 2016 WL 8314623 at *3.

           Therefore, Alpine’s equitable defenses of waiver and estoppel are not unavailable simply

because Alpine asserts them against a governmental plaintiff, particularly where an injunction is

sought.

                   3.       Alpine’s Estoppel and Waiver Defenses Are Supported by Sufficient
                            Factual Allegations.

           Alpine has alleged sufficient facts in support of its estoppel and waiver defenses to defeat

the SEC’s Motion to Strike. Specifically, Alpine’s estoppel and waiver defenses are based on the

following specific allegations regarding the SEC’s misleading and inappropriate conduct prior to

this action being filed:

           •   “Alpine was informed during prior regulatory examinations by OCIE 7 and/or FINRA

               that Alpine was filing ‘too many SARs’”;

           •   “Plaintiff is attempting to apply the relevant laws, rules or regulations at issue in this

               action in a new manner, and/or by attempting to graft or impose, through the fiat of

               interpretation, new obligations and requirements into such laws, rules or regulations

               that are not found in the text thereof, without providing Alpine fair notice of such

               purported requirements or obligations at the time of the conduct at issue”;

           •   “Plaintiff failed to notify Alpine of the alleged deficiencies in its SAR filings and/or

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    “OCIE” refers to the Office of Compliance Inspections and Examinations.

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              in the design and implementation of Alpine’s AML8 compliance program, including

              but not limited to, during regulatory examinations, or give Alpine an opportunity to

              correct any such deficiencies, prior to commencing this action”;

          •   “Alpine used and relied on guidance and rules issued by Plaintiff and FINRA,

              including FINRA’s small firm template, in designing and implementing its AML

              compliance program, with which Plaintiff now takes issue”;

          •   “Plaintiff and FINRA reviewed Alpine’s AML compliance program and Alpine’s

              SARs filings during the relevant period, including during regulatory examinations,

              but did not identify the alleged deficiencies in the general design or implementation

              of Alpine’s AML compliance program or in certain of Alpine’s SAR filings that may

              now be at issue in this action, and thereby misled Alpine into concluding that its

              AML compliance program was adequate in the eyes of the federal regulators”;

          •   “Plaintiff is pursuing this action based on alleged conduct that occurred as much as

              six years ago, which adversely affects and prejudices Alpine’s ability to summon

              witnesses and produce relevant testimony and/or records in its defense”;

          •   “Plaintiff’s misconduct as described herein, and in Alpine’s Nineteenth Defense

              below, is evidence of severe circumstances and governmental abuses which rise to a

              constitutional magnitude, including but not limited to, Alpine’s constitutional rights

              to due process and equal protection under the law.”

See Alpine’s Am. Answer, pp. 18-19, Dkt. No. 48.

          These factual allegations, which are taken as true and construed liberally in favor of


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    “AML” refers to Anti-Money Laundering.

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Alpine at this stage, raise sufficient questions of law and fact to allow Alpine to proceed on its

estoppel and waiver defenses. See City of New York, 314 F.R.D. at 355 (“The ‘sufficiency of a

defense is to be determined solely upon the face of the pleading,’ and the Court ‘accepts as true

all well-pleaded factual allegations and draws all reasonable inferences in the [non-moving

party’s] favor.’”) (quoting Coach, Inc., 756 F. Supp. 2d at 425)). Stated otherwise, the SEC has

not established, based on these allegations, that there is “no question” of fact or law that could be

developed in discovery that “might allow the defense to succeed.” Id. at 354.

       The above-described factual allegations, together with the additional facts alleged in

support of Alpine’s Nineteenth Defense (incorporated into Alpine’s Sixteenth Defense), raise

very real issues as to both estoppel and waiver. For example, the statements by the SEC and

FINRA to Alpine that it was filing “too many SARs,” alone, is one on which Alpine could rely,

and is directly at odds with the SEC’s current position in Paragraphs 35-38 of its Complaint that

Alpine failed to file SARs when required. In the context of estoppel, for the SEC and its self-

regulatory organization to complain about too many SARs filings in one breath, thereby cause

Alpine to question whether to file a SAR, and then in the next breath allege that Alpine failed to

file enough SARs is “inconsistent with the ‘minimum standard of decency, honor, and reliability’

which citizens have a right to expect from their Government.” KPMG, supra, at *2 (citation

omitted) ); see also EEOC, supra, at *11 (denying motion to strike estoppel and waiver defenses

and observing that “estoppel applies ‘when a party, by its conduct, including language, acts or

silence, knowingly makes a representation or conceals material facts which it intends or expects

will be acted upon by the other party.”).

       Similarly, by informing Alpine that it was filing too many SARs, the SEC may have


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waived the right to maintain a claim based upon Alpine’s failure to file enough SARs. See

Jordan, 485 F. Supp. 2d at 499 (“Waiver may be established by affirmative conduct or by a

failure to act that evinces the intent to abandon the right.”) (citations omitted).

       Alpine’s waiver and estoppel defenses are also supported by the SEC’s years-long delay

in bringing this action, particularly when combined with the SEC’s failure to provide notice or

guidance during the relevant period at issue in the Complaint (2011-2015) that reflects the SEC’s

current positon on the SAR filing requirements.

       In SEC v. PacketPort.com, 2006 WL 2798804 at *4, the Court refused to strike defenses

of waiver or estoppel based on “the passage of time alone” because the “court will not resolve

this factual dispute on a motion to strike.”        Here, the SEC’s allegations include allegedly

deficient SARs filed as many as six years before the SEC brought this action. This delay

prejudices Alpine in defending the SEC’s claim in this Action, by denying Alpine its

constitutional right to have a fair trial, including its ability to locate and marshal witnesses who

can remember the events in question and provide competent testimony in its defense. Such

prejudice supports a finding that the SEC has waived, or is estopped, from maintaining

allegations based on such stale claims.

       Furthermore, not only has the SEC acted inequitably in delaying its enforcement action,

but it has also failed to provide Alpine with consistent and timely guidance regarding the

standards that the SEC now claims governs the preparation and decision to file a SAR. Although

Alpine disputes that the SEC has the authority to impose requirements regarding the contents of

a SAR or to dictate when a SAR must be filed, to the extent the SEC has any such authority, it

must provide notice as to what it believes the law requires before bringing an enforcement action


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against a broker dealer for failure to comply with heretofore unknown requirements. Neither

equity, nor the constitution, allows the SEC to stay silent while Alpine continues to prepare

SARs that the SEC secretly believes are deficient, thereby increasing the number of potentially

deficient SARs at issue over a period of years, and then bring an enforcement action claiming

that thousands of Alpine’s SARs are deficient and warrant penalties on a per-SAR or per-

transaction basis.        The doctrines of waiver and estoppel preclude such conduct, as do

constitutional principles of due process, which require, inter alia, fair notice of what the law

requires. See, e.g., F.C.C. v. Fox Television Stations, Inc., 567 U.S. 239, 253 (2012) (observing

a “fundamental principle in our legal system is that laws which regulate persons or entities must

give fair notice of conduct that is forbidden or required,” and that this requirement is essential to

the protections provided by the due process clause of the constitution). 9

         The allegations Alpine provided in support of its equitable defenses take this case outside

of the KPMG decision upon which the SEC relies. In that case, KPMG’s equitable defenses of

estoppel, waiver, and unclean hands were based on one conversation with auditors. See KPMG,

supra, at *3 (“The three equitable defenses rest on a conversation in May 2001, and therefore, to

the extent reliance is properly part of any analysis, are available solely as to those claims

addressed to the 2000 audit, the only KPMG audit of Xerox that was completed, executed and

filed after that conversation.”).          Alpine’s allegations stated in its Sixteenth and Nineteenth

Defenses are much more extensive and involve multiple interactions, statements and conduct,

including during and through examinations, guidance on AML programs, deficiencies letters,


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  By way of an additional example, as set forth in Alpine’s Nineteenth Defense, the SEC included false, irrelevant
and inflammatory allegations in its Complaint that Alpine facilitates criminal conduct. The SEC now concedes that
these allegations are irrelevant by objecting to Alpine’s efforts to conduct discovery on these allegations on the basis
that the discovery requests seek irrelevant information.

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and correspondence with regulators and examiners. Alpine’s defenses also include the issue of

selective enforcement and ulterior and improper motives for the SEC’s action, including

retaliation for Alpine’s lawsuit commenced against FINRA. See Alpine’s Nineteenth Defense,

incorporated into Alpine’s Sixteenth Defense. KPMG is not factually analogous to the present

case.

        Accordingly, the SEC’s disfavored motion to strike Alpine’s estoppel and waiver defense

should be denied. Alpine’s estoppel defense is a legally valid defense that Alpine may assert

against the SEC, and Alpine has provided sufficient factual allegations to support the defense

and allow Alpine the opportunity to present its defense at trial after full discovery.

        C.     THE PREJUDICE PRONG IS NOT APPLICABLE IN THIS MATTER
               BECAUSE ALPINE’S AFFIRMATIVE DEFENSES ARE LEGALLY AND
               FACTUALLY VALID AND SUFFICIENT.

        In order to prevail on a motion to strike, a plaintiff must show not only that there is no

question of fact or law which might allow the defense to succeed but also that “the plaintiff

would be prejudiced by inclusion of the defense.” McCaskey, 56 F. Supp. 2d at 326. Where, as

here, the affirmative defenses at issue raise questions of fact and law upon which they could

succeed, the SEC cannot establish prejudice and the Court need not reach this prong. See S.E.C.

v. Toomey, 866 F. Supp. 719, 725 (S.D.N.Y. 1992) (analyzing the prejudice to the SEC in time

and expense in defending against statute of limitations defense only after finding that the defense

failed as a matter of law).

        In addition, the SEC has failed to demonstrate that it would be prejudiced by the

inclusion of Alpine’s Sixteenth and Nineteenth Defenses. Even if a party is able to satisfy the

first two prongs of the motion to strike test, the party still must show what prejudice it will suffer


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and cannot simply point to extra time and expense. See County Vanlines Inc. v. Experian

Information Solutions, Inc., 205 F.R.D. 148, 153 (S.D.N.Y. 2002) (stating that “absent a showing

of prejudice, the motion to strike must be denied” and that although “increased time and expense

of trial may constitute sufficient prejudice to warrant granting a motion to strike, mere assertions

by the moving party that he is prejudiced are insufficient”) (internal quotations, citations, and

brackets omitted).

       The SEC’s alleged prejudice includes its desire to only focus on its own claim against

Alpine in this case. See SEC’s Mem., at p. 9 (“Without the defenses, discovery will focus on

Alpine’s records . . .”). As argued above, Alpine has a right to develop its defenses to the SEC’s

claim in this matter. Moreover, the SEC’s claim that discovery into Alpine’s defenses will

“intrude into the Commission’s investigative process and be fraught with disputes over

privileged communications and attorney work product” is plainly premature. The Motion to

Strike must be evaluated on the face of the pleadings. City of New York, 314 F.R.D. at 355.

Although Alpine has propounded discovery requests to which the SEC has objected on the basis

of privilege, the SEC’s objection is not a basis to strike Alpine’s defenses. The SEC can at any

times seek to limit discovery and cannot rely on its concerns about possible discovery issues as a

basis for depriving Alpine of the ability to present and to prove a legally valid defense.

IV.    CONCLUSION

       Based on the foregoing, the SEC’s Motion to Strike should be denied because Alpine’s

affirmative defenses of estoppel, waiver, and unclean hands are legally valid defenses against the

Government and Alpine presented numerous questions of fact that support these defenses.




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DATED this 8th day of December, 2017.


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